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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION


  IN RE APPLICATION OF
  HORNBEAM CORPORATION
                                             Case No. 14-24887-MC-SEITZ/TURNOFF
  REQUEST FOR DISCOVERY PURSUANT TO
  28 U.S.C. §1782




          INTERVENOR IGOR KOLOMOISKY’S RESPONSE IN OPPOSITION
              TO VADIM SHULMAN’S 28 U.S.C. § 1782 APPLICATION
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                                         INTRODUCTION

          On December 29, 2014, Hornbeam Corp. filed an ex parte application pursuant to 28

   U.S.C. §1782 for discovery it claimed it needed to initiate an action in the BVI regarding

   Halliwel Assets, Inc., which was granted on February 11, 2017. In May 2015, counsel for

   Panikos Symeou, Halliwel’s sole director, learned by happenstance that Hornbeam had secretly

   served discovery and obtained confidential bank records in a related §1782 proceeding in New

   York, purportedly for use in its promised BVI action. In June 2015, upon Halliwel’s discovery

   of the secret §1782 proceedings, Hornbeam, Bracha Foundation, and Vadim Shulman filed an

   action in Ohio state court asserting the same claims for the same damages against the same

   defendants named in its Application in this case. After the Ohio claims were dismissed in

   October 2015, Hornbeam, Bracha, and Shulman appealed. On September 11, 2017, the Ohio

   Court of Appeals affirmed the dismissal. Meanwhile, Hornbeam did not serve the subpoenas this

   Court authorized until March 20, 2016.

          Now, almost three years later, Hornbeam still has not filed the promised BVI claims.

   Instead, Shulman has filed claims in England based on the same allegations for the same

   damages against two of the same defendants, Igor Kolomoisky and Gennady Bogolyubov,

   named in Hornbeam’s application. See Appendix A. Bogolyubov has challenged the English

   court’s jurisdiction over him. If Shulman cannot sustain jurisdiction over Bogolyubov (on the

   basis of Bogolyubov's domicile in England), jurisdiction over Kolomoisky (who has not been

   served) fails because there is no anchor defendant to sustain English jurisdiction. Despite filing

   the English action in May 2017, Shulman did not move to intervene in this proceeding until June

   30, 2017 and did not file his application until September 15, 2017, even though he could have

   done so months earlier. Shulman’s Application seeks the same discovery approved in the Ex
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   Parte Order granting discovery to Hornbeam. Shulman is not entitled to discovery unless the

   English court sustains jurisdiction, and, even then, the discovery should be substantially

   narrowed.

          First, Shulman does not satisfy §1782’s statutory requirement that the discovery be “for

   use” in the English proceeding unless jurisdiction over Bogolyubov is sustained.              Thus,

   discovery should be stayed until there is a resolution of that issue. Bogolyubov’s jurisdictional

   challenge will be addressed at a hearing in December 2017, only a few weeks after briefing is

   complete on Shulman’s Application. None of the sought discovery is remotely related to the sole

   issue to be determined by the English Court in – whether Bogolyubov was domiciled in England

   in May 2017 when Shulman’s claim was filed.

          Second, the depositions Shulman seeks are unduly intrusive and burdensome. There is

   no reason to permit 14 Rule 30(b)(6) depositions at this time, if ever, and Mordechai Korf has

   agreed to make himself available for examination at the English trial if jurisdiction is sustained,

   making his deposition unnecessary.1 The document discovery Shulman seeks is also unduly

   intrusive and burdensome, seeking documents unrelated to the transactions involving Halliwel

   and its subsidiary Warren Steel Holdings, LLC, which operated the Ohio steel plant at issue. At

   most, if jurisdiction is sustained, discovery should be limited to transactions between the

   Subpoena Recipients and Halliwel or Warren Steel, as the Alabama court recognized in a related

   §1782 proceeding.

          Third, the decisions in Hornbeam’s other §1782 proceedings do not support granting

   discovery to Shulman before jurisdiction is decided, much less the overly intrusive and

   burdensome discovery Shulman seeks. To the contrary, the Alabama court limited discovery to
   1
     Korf is prepared to submit an affidavit regarding his willingness to testify should the Court
   require one.

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   those transactions involving Halliwel and Warren Steel; the New York court ordered easily

   produced bank records (albeit inappropriately extending the scope beyond those related to

   Halliwel and Warren Steel); and the Ohio court stayed discovery because Hornbeam’s promised

   BVI action was not reasonably contemplated.

                                    CONCISE BACKGROUND2

          This case involves a commercial dispute over the operation of the Ohio steel plant owned

   by Warren Steel Holdings, LLC.        Warren Steel is owned by Halliwel, of which Shulman

   (through Hornbeam), Kolomoisky (through Symeou), and Bogolyubov (through Marigold Trust),

   are the beneficial owners. Shulman alleges entities related to Kolomoisky and Bogolyubov

   entered into false loans and self-dealing transactions with Warren Steel and Halliwel.

          The Abusive BVI Case: Hornbeam obtained an ex parte injunction in the BVI to enjoin

   certain corporate conduct and then moved to place Halliwel into liquidation. But Hornbeam’s

   attempt failed miserably and its application to appoint provisional liquidators over Halliwel was

   dismissed as “an abuse.” Transcript at 172–73, ECF 28-1 at 179-80. Instead, the BVI court

   awarded $846,526 in sanctions to Symeou, Halliwel, and Marigold on December 10, 2014. See

   Second Nader Dec. ¶ 33. Hornbeam refused to pay those sanctions voluntarily and only did so in

   November 2016 under the threat of execution on Hornbeam’s shares in Halliwel. Id. at ¶¶ 51–

   52, 65–67.

          The Ohio State Court Case: Symeou uncovered the secret §1782 discovery in New

   York by happenstance in May 2015. Immediately thereafter, instead of Hornbeam filing new

   claims in the BVI as promised, Shulman and Bracha filed proceedings in Ohio state court against

   Symeou, Halliwel, Warren Steel, Korf, Kolomoisky, and Bogolyubov, see Amended Complaint,


   2
     The background is discussed in detail in the Motion to Vacate the Ex Parte Order granting
   discovery to Hornbeam, which Kolomoisky incorporates.
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   ECF 28-2 at 161, and obtained an ex parte TRO on June 15, 2015.3 Thereafter, when Shulman

   and Bracha recognized that they lacked standing to sue, Hornbeam joined their claims and filed

   its own claims; the matters were then consolidated. In October 2015, the Ohio court dismissed

   their claims. ECF 28-3 at 185-199. Instead of Hornbeam filing in the BVI or Shulman filing in

   England, they appealed.     On September 11, 2017, the Ohio court of appeals affirmed the

   dismissal. Opinion, Marks Dec. Ex 4.

            The Other §1782 Proceedings: Hornbeam and/or Bracha filed ex parte applications in

   Alabama, Delaware, Florida, Ohio, and New York in 2014 and early 2015, obtaining ex parte

   orders granting them. Hornbeam served subpoenas on 12 banks in New York without notice in

   violation of Rule 45 and secretly obtained discovery there. In order to keep this discovery secret,

   Hornbeam and Bracha did not serve subpoenas on professional service providers in New York or

   in the other jurisdictions until Symeou discovered the New York proceedings by happenstance in

   May 2015. In short:

            Northern District of Alabama: Although the Alabama court denied Respondents’

   motion to vacate (based upon Hornbeam’s representations that a BVI proceeding was to be

   filed), it substantially narrowed the scope of the original subpoena, limiting discovery to records

   of Halliwel and Warran Steel. Opinion, ECF 28-3 at 172. On appeal, the Eleventh Circuit

   reversed the grant of discovery to Bracha because the district court had not found it was an

   “interested person,” a §1782 statutory requirement. In re: Application of Bracha Found., 663 F.

   App’x 755, 763 (11th Cir. 2016). On remand, Bracha abandoned its claim to discovery and the

   Alabama court dismissed it from the case. Alabama Opinion, ECF 102-1. The Alabama court

   also denied Shulman’s motion to intervene, finding that his explanation for not originally joining



   3
       Kolomoisky and Bogolyubov were never served even though Shulman knew their addresses.
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   Bracha’s application contained “troubling contradictions” which “smack[ed] of gamesmanship

   and hide-the-ball tactics.” Id. at 9.

           Southern District of New York: Although the New York court denied Symeou’s motion

   to vacate (again, based upon Hornbeam’s representations that a BVI proceeding was to be filed),

   it entered a protective order limiting the use of the discovery to Hornbeam in the BVI. ECF 79-

   6. It denied Shulman’s motion to intervene. ECF 105-1.

           Northern District of Ohio: On December 23, 2014, Hornbeam moved ex parte for

   §1782 discovery. On January 16, 2015, the Court granted the application, authorizing two

   subpoenas. Order, ECF 9-1. But Hornbeam did not serve the subpoenas until March 7, 2016.

   Thereafter, Symeou and Halliwel intervened and moved to vacate and/or stay the order. On July

   26, 2015, the Court granted the motion to stay, stating that “because Hornbeam is prohibited

   from filing suit in the BVI until such time as it pays off the judgment, the Court cannot say that

   proceedings there are ‘within reasonable contemplation.’ . . . [T]he fact that the judgment is

   relatively small and easily affordable weighs against a finding that Hornbeam is ‘reasonably

   contemplating’ litigation. If that were the case, the Court presumes that Hornbeam would have

   paid the judgment thus clearing the way for it to proceed in the BVI.” Opinion, ECF 76-1 at 8-9.

   Hornbeam has not moved to vacate the Ohio stay even though the BVI judgment was settled by

   November 2016.

           District of Delaware: After the Court granted Hornbeam’s ex parte application on May

   4, 2015, Hornbeam never served the subpoenas. Thus, there have been no proceedings there.

                                   THE INSTANT PROCEEDINGS

           On December 29, 2014, Hornbeam filed an ex parte application pursuant to 28 U.S.C.

   §1782 seeking discovery for use in the BVI. ECF 1. The Court held an ex parte hearing on



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   February 10, 2015 (ECF 10) and by ex parte order dated February 11, 2015 (“Ex Parte Order”),

   ECF 12, Hornbeam was authorized to serve subpoenas on 15 persons and entities mainly related

   to Kolomoisky and Bogolyubov (“Subpoena Recipients”). The Ex Parte Order also permitted

   Hornbeam to depose Korf and 14 Rule 30(b)(6) designees from each of the Subpoena Recipients.

   ECF 12. Hornbeam did not serve the subpoenas until March 2016 as part of its scheme to

   conceal subpoenas that had been secretly served on banks through an ex parte §1782 order in

   New York.

          After the subpoenas in this matter were served, Symeou and Halliwel intervened and

   moved for a stay. By report and recommendation dated May 24, 2016, ECF 49, Magistrate

   Judge Turnoff concluded that a stay was appropriate, rejected Hornbeam’s argument that it

   would be prejudiced by delay and found that “if prompt discovery was of the essence, Hornbeam

   could have adequately addressed this concern by swiftly serving the subpoenas. Instead, it waited

   more than one year after authorization to do so.” ECF 49 at 6. By order dated July 13, 2016,

   ECF 54 (“Stay Order”), this Court adopted the Magistrate’s report and recommendation and

   found “Hornbeam is responsible for its own delay and that a stay created no additional

   prejudice.” ECF 54 at 4.

          Hornbeam did not move to lift the stay until January 27, 2017. ECF 59. While that

   motion was pending, Hornbeam changed course and moved to extend the stay. ECF 68. The

   Court granted the extension until April 14, 2017. ECF 69. Subsequently, in order to obtain an

   extension “for the lesser of 45 days or the date Hornbeam notifies the Court that it has initiated

   foreign proceedings,” Hornbeam represented that it “expected to initiate such litigation [in the

   BVI] within the next 45 days.” ECF 71 at 2–3. The Court extended the stay to June 16, 2017.

   ECF 74. But, Hornbeam did not file in the BVI.



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          As the stay was set to expire, Hornbeam filed its Renewed Motion to Lift the Stay, ECF

   75, revealing that Hornbeam had not filed any claims in the BVI, but, instead Shulman had filed

   claims in England premised on the same allegations for the same damages. On August 17, 2017,

   the Court lifted the stay and granted Shulman’s motion to intervene. Order, ECF 108. Then, after

   briefing and argument, this Court required Shulman to file a §1782 application. Order, ECF 123.

          As detailed in Halliwel and Symeou’s Motion to Vacate, filed contemporaneously

   herewith, the evidence is clear that Hornbeam has no present intention of filing in the BVI.

   Indeed, in the three years since initiating this series of §1782 actions, Hornbeam still has not

   filed any actions in the BVI, despite its repeated promises to this and other federal courts that it

   would do so.

                                             ARGUMENT

          28 U.S.C. §1782 imposes three statutory requirements: (1) the person from whom

   discovery is sought must reside or be found in the district; (2) discovery must be “for use” in a

   proceeding before a foreign tribunal; and (3) the application must be made by an “interested

   person.” See Intel v. Advanced Micro Devices, Inc., 542 U.S. 241, 256 (2004). If those

   requirements are met, §1782 “authorizes, but does not require, a federal district court to provide

   judicial assistance.” Id. at 255. The court may deny the application if, among other things, (1)

   “the person from whom discovery is sought is a participant in the foreign proceeding” (and thus

   the evidence is within the foreign court’s reach); (2) “the request conceals an attempt to

   circumvent foreign proof-gathering restrictions or other policies of a foreign country or the

   United States,” (3) is “unduly intrusive or burdensome,” or (4) “the foreign government or the

   court or agency abroad” would not be receptive “to U.S. federal-court judicial assistance.” Id. at

   264–65.


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   I.   THIS COURT SHOULD WITHHOLD DECISION ON SHULMAN’S
   APPLICATION PENDING THE ENGLISH COURT’S JURISDICTIONAL DECISION.

          In order to satisfy §1782’s statutory requirements, discovery must be “for use” in a

   foreign proceeding.    While Shulman has brought the English Action, if jurisdiction is not

   sustained, then there will be no action in which to use the §1782 discovery. Thus, this Court

   should withhold a decision on Shulman’s Application until the English Court decides whether

   the English Action will be dismissed on jurisdictional grounds. Such an approach is consistent

   with §1782’s requirement that discovery be both “for use” in a pending or reasonably

   contemplated foreign action, and with this Court’s jurisdiction on issuing stays.

          This Court is familiar with the standards applying to stays of §1782 actions, having done

   so in this case. Stay Order, ECF 54 (adopting Report and Recommendation, ECF 49). “The

   power to stay proceedings is incidental to the power inherent in every court to control the

   disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

   for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). As this Court has explained,

   “[t]he broad authority to grant a stay extends to 28 U.S.C. §1782 proceedings.” In re Alves

   Braga, 789 F. Supp. 2d 1294, 1307–08 (S.D. Fla. 2011) (citations omitted); accord In re Noboa,

   1995 U.S. Dist. LEXIS 14402, at *3 (S.D.N.Y. Oct. 4, 1995) (staying the “taking of . . .

   depositions” under §1782). In assessing the propriety of a stay, courts look at various factors

   depending upon the reason for the stay. This Court has often granted stays of §1782 proceedings

   pending decisions of foreign courts. See In re Pinchuk, 2014 U.S. Dist. LEXIS 43686 (S.D. Fla.

   Mar. 31, 2014) (stay pending rulings in Cyprus proceedings); In re Braga, 789 F. Supp. 2d at

   1307–08 (stay pending resolution of Brazil and Cayman Islands proceedings); In re XPO

   Logistics, Inc., 2016 U.S. Dist. LEXIS 81784, *8–9 (S.D.N.Y 2016) (stay consideration of the




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   requested discovery until the foreign proceedings advanced sufficiently to consider foreign

   discoverability when it might otherwise be relevant to the §1782 application.”).4

          A.      The English Decision Could Be Dispositive Of Shulman’s Claims.

          Stays may be granted when the result of another action may be “directly relevant” to the

   pending action. Schartel v. OneSource Tech., LLC, 2015 U.S. Dist. LEXIS 155967 (N.D. Ohio

   Nov. 17, 2015) (granting stay, applying “directly relevant” standard). When a decision in

   another case “has the potential to be completely dispositive, [this] factor weighs quite heavily in

   favor of a stay.” Michael v. Ghee, 325 F. Supp. 2d 829, 832 (N.D. Ohio 2004). If the English

   court denies jurisdiction, this moots Shulman’s motion to intervene because there will be no

   foreign action supporting discovery. This Court accepted the same rationale as to the Eleventh

   Circuit appeal – the English decision not only will be relevant, “it may have a dispositive effect

   on this case.” Stay Order at 3, ECF 54; see also In re Pott, 12-cv-24515, 2013 WL 3189262, at

   *4 (S.D. Fla. June 20, 2013) (court vacated previously granted discovery because foreign action

   was on discretionary review and there was no basis to believe that the discovery could be used).

          B.      Judicial Economy and Efficiency Favor A Stay.

          If the English court denies jurisdiction as to Shulman, this may “negate the need for this

   Court to delve into the vast majority of the legal issues presented in those filings. It makes little

   sense to undertake the herculean task of plodding through the motions when one decision . . .

   could invalidate the entire case.” Michael, 325 F. Supp. 2d at 833. This Court accepted the
   4
     Shulman may argue that the Court already denied Symeou’s request for a stay when it lifted the
   stay of this action on August 17, 2017. However, the case is in an entirely different procedural
   posture at this point. Lifting that stay then did not permit discovery to proceed. It only allowed
   the parties to brief the issues of whether the §1782 application by Hornbeam should be vacated,
   and whether Shulman’s §1782 application should be granted. Now, as to Shulman, it is clear
   that decision should be stayed until the jurisdiction issue in the English action is addressed,
   which is only a few weeks away. As to Hornbeam, it is equally clear that decision should be
   stayed because if Shulman sustains jurisdiction, Hornbeam’s purported future BVI action will be
   effectively mooted.
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   same rationale as to the Eleventh Circuit appeal.       See Stay Order at 4, ECF 54 (quoting

   Magistrate’s Report quoting Michael).

             First, Kolomoisky has challenged the need for deposition discovery and the scope of the

   document subpoenas. There is no need to address these issues if the English action is dismissed.

             Second, if the English Action is sustained, this will moot the need to decide Symeou and

   Halliwel’s motion to vacate the Ex Parte Order because Hornbeam’s need for discovery will be

   mooted, and discovery will eventually occur for Shulman in the English proceedings, in

   accordance with English procedure. The Court will then not need to decide a myriad of difficult

   issues.

             C.    A Stay Will Avoid Unnecessary Burden and Expense On the English
             Defendants and the Subpoena Recipients.

             A stay will avoid unnecessary burden and expense on the English defendants.          In

   addition, the Court should also consider the “special protection against the time and expense of

   complying with subpoenas” by the non-party Subpoena Recipients whose time consuming

   involvement may be mooted. Beinin v. Ctr. for Study of Popular Culture, No. C 06-2298 JW

   (RS), 2007 U.S. Dist. LEXIS 22518, at *2 (N.D. Cal. 2007).5 Again, this Court and the

   Magistrate accepted the same rationale as to the Eleventh Circuit appeal—Symeou/Halliwel and

   Subpoena Recipients should not be subjected to avoidable burden.

             First, Kolomoisky should not have to defend this § 1782 action, which seeks discovery

   for a lawsuit that may never materialize due to a lack of jurisdiction. Indeed, many courts hold

   that a defendant need not have to engage in merits discovery while a jurisdictional fight is



   5
     See also Englar v. 41B Dist. Ct., No. 04-CV-73977, 2009 U.S. Dist. LEXIS 100949, *16 (E.D.
   Mich. Oct. 29, 2009) (status as a non-party weighs in favor of a finding of undue burden);
   Whitlow v. Martin, No. 263 F.R.D. 507, 509 (C.D. Ill. 2009) (“Non-party status is a significant
   factor to be considered in determining whether the burden imposed by a subpoena is undue.”).
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   pending. See, e.g., Orchid Biosciences, Inc. v. St. Louis Univ., 198 F.R.D. 670, 674 (S.D. Cal.

   2011) (noting that “[w]hen a defendant raises jurisdictional objections, the court may stay

   discovery proceedings generally and limit discovery to matters relevant to the court’s

   jurisdiction” and that “[c]ourts in other circuits have routinely stayed discovery on the merits

   altogether while challenges to jurisdiction are pending”); Ginsberg v. Gov’t Properties Trust,

   Inc., 2007 U.S. Dist. LEXIS 75771, at *4 (S.D.N.Y. Oct. 10, 2007) (staying merits discovery

   pending resolution of jurisdictional motion); 8 Charles A. Wright, Arthur R. Miller & Richard L.

   Marcus, Federal Practice and Procedure § 2040, at 521–22 (2d ed.1994). It makes little sense

   that a defendant in a foreign proceeding would be provided less rights than one in a domestic

   proceeding.

          Second, by the same token, the Subpoena Recipients also should not have to engage in

   merits discovery, which would include responding to burdensome document requests and 14

   depositions, if it is possible that the English courts do not even have jurisdiction over the

   proceeding that forms the basis for Shulman’s Application here.

          D.     Shulman Will Suffer No Prejudice.

          Shulman waited years to file his English proceedings and did not move to intervene for

   two-and-a-half years after Hornbeam filed its §1782 Application. He will not be harmed if

   discovery does not take place until jurisdiction is decided. Needless to say, the absence of harm

   is illustrated by this Court’s findings related to Hornbeam: “Hornbeam is responsible for its own

   delay and . . . a stay [would] create[] no additional prejudice.” Stay Order at 4, ECF 54.

   Similarly, in denying intervention in Alabama, the district court found “that Mr. Shulman knew

   about these proceedings since their inception, and was contemplating filing a foreign action and

   using the documents to be produced here, yet waited two years to intervene; he has articulated no



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   reasonable excuse for the delay.” Alabama Opinion, ECF 102-1 at 10.

          First, an English action is essentially stayed while a jurisdictional challenge is pending.

   See Third Fulton Dec. ¶¶ 22–26, 34. A respondent is not required to file a defense, the case is

   not assigned to a particular track, and there is no disclosure on the merits. Third Fulton Dec. ¶¶

   26–29. If the English court rejects the jurisdictional challenge, and the case proceeds, the court

   assigns the case to a particular track. It also establishes a case-management schedule with

   various disclosure and witness evidence deadlines. Third Fulton Dec. ¶ 24. When, as here,

   international discovery is likely to be sought, the court will set a schedule that allows time for

   that international discovery to be conducted. Shulman’s English law expert ignored the crucial

   distinction in the progress of an English case when jurisdiction is challenged, even though

   Shulman knew that Bogolyubov was challenging jurisdiction before his expert’s report was

   submitted.

          Second, Shulman makes no plausible argument that the discovery is needed to respond to

   Bogolyubov’s jurisdictional challenge. After all, Hornbeam sought discovery in December 2014

   with the goal of filing in the BVI, not England, and sought evidence related to dealings by

   various companies based in this District with Warren Steel and Halliwel, not evidence

   concerning where Bogolyubov was domiciled. Moreover, because the Ohio plant permanently

   closed in November, 2015, nothing in the subpoenas authorized for Hornbeam—which Shulman

   apparently seeks to serve himself—is remotely connected to evidence of Bogolyubov’s domicile

   in England in or around May 2017.        Plainly, any evidence that Shulman needs regarding

   Bogolyubov’s domicile can be obtained from Bogolyubov or sources of evidence in England, not

   the Southern District of Florida.

          Finally, Shulman’s expert expresses the illusory concern that Shulman would not be able



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   to obtain an extension of the English court’s case schedule if the §1782 discovery is delayed in

   the U.S. See Doctor Dec. ¶¶ 32-33, ECF 91-2 at 13. This concern is not even applicable at this

   stage, because the English court will not set a discovery schedule until Bogolyubov’s

   jurisdictional challenge has been resolved. Indeed, as Respondents’ English law expert, Andrew

   Fulton, makes clear, until the question of jurisdiction has been settled, “the court will not give

   case management directions, or set a timetable for the steps to be taken between the giving of

   directions and the trial, or fix a case management conference.” Third Fulton Dec. ¶ 24.4.

            In sum, Shulman will not suffer any prejudice if discovery is stayed pending resolution

   of the jurisdictional challenge, while the producing parties will be prejudiced by devoting

   considerable resources to discovery for a case that may be dismissed.

   II. THE DISCOVERY SHULMAN SEEKS IS OVERLY BROAD AND UNDULY
   BURDENSOME.

       A.          Shulman Should Not Be Allowed to Take The Depositions He Seeks.

            First, under Intel, one discretionary factor considers whether the discovery subject is a

   “participant” in the foreign proceeding. Intel, 542 U.S. at 256. This does not hinge on whether

   the subject of the § 1782 discovery is a “party” to the foreign proceeding. Korf has agreed to

   participate in the English action as a witness if the case is not dismissed on jurisdictional grounds

   and his evidence is relevant to the matters in dispute. Therefore, Korf qualifies as a participant

   in the English Action if the case is not dismissed on jurisdictional grounds. See In re Pinchuk,

   13-CIV-22857, 2014 U.S. Dist. LEXIS 59988, at *2 (S.D. Fla. Apr. 30, 2014) (quashing

   deposition subpoena where counsel represented witness would be made available in arbitration);

   In re Leret, 981 F. Supp. 2d 66, 70 (D.D.C. 2013) (treating the discovery subject as a

   “participant” in the foreign proceeding when discovery subject agreed to submit to the

   Venezuelan courts for discovery purposes), amended, 51 F. Supp. 3d 66 (D.D.C. 2014)

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   (affirming dismissal but granting applicant leave to refile if the subject did not subject itself to

   Venezuelan discovery).

            Second, under Intel, another discretionary factor concerns “the receptivity of the foreign

   government or the court or agency abroad to U.S. federal-court judicial assistance.” Intel, 542

   U.S. at 264.    In fact, in situations such as this, where the putative deponent has confirmed his

   willingness to attend to give evidence at trial in England, English courts disfavor and have

   actually enjoined depositions under § 1782. As explained in Andrew Fulton’s expert report, in

   Omega Group Holdings, Ltd. v. Kozeny, one of the English defendants filed § 1782 actions in

   New York and Connecticut, seeking depositions in the United States. The claimants objected

   and sought an injunction against those depositions, arguing that “[e]ach of the relevant

   witnesses,” with one exception, “has confirmed in writing his willingness to ‘submit a witness

   statement and to attend to give evidence at trial in London’ in the English proceedings.” Third

   Fulton Declaration, Ex G, Omega Judgment ¶ 8.6 The English court held that “it would be

   unconscionable, in the sense that it would be oppressive, vexatious and constitute an interference

   with the due process of this Court, for [the defendant] to pursue the s. 1782 applications in the

   United States in respect of witnesses, whom it is intended [by claimants] to be called to give oral

   evidence at the trial in this country.” Id. ¶ 23. As a result, the English court enjoined the

   defendant from taking depositions pursuant to §1782 of any witness that would be called to give

   oral testimony in England. Again, because Korf has expressed his willingness to testify and be

   examined at trial in England, if jurisdiction is ultimately found to exist, not only is the deposition

   testimony that Shulman seeks inappropriate, but it is likely to be enjoined by the English court.




      6
          See Third Fulton Declaration ¶ 36.
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            Third, preparing and sitting for multiple Rule 30(b)(6) depositions is an extremely

   burdensome task, especially given the Subpoena Recipients’ status as third-parties. Rather than

   saddling them with that burden blindly, if anything, this Court should require Shulman to first

   review any document production this Court authorizes and determine if deposition testimony is

   still necessary. Shulman should then be required to articulate the need for such testimony, in

   light of the document production he would have already received and reviewed.

            Finally, FRCP 30(a)(2)(A)(i) limits a party to ten depositions. A party seeking additional

   depositions must show a “demonstrable need to do so.” San Francisco Health Plan v. McKesson

   Corp., 264 F.R.D. 20, 21 (D. Mass. 2010). “Courts should not freely grant relief from the limits

   without a showing of need.” Id. “The purpose of the limitation in the rule is to force counsel to

   think long and hard about who they want to depose and to depose only those who are really

   important, so as to stay within the limit set by the rule.” Here, Shulman seeks a total of 15

   depositions—14 Rule 30(b)(6) witnesses and the deposition of Korf—but does not even attempt

   to demonstrate his need for all of those depositions. Such an extensive discovery schedule will

   impose an unnecessary burden on the parties. Shulman should be required to demonstrate the

   need for each deposition he seeks, or have his request denied.

       B.          The Document Discovery Is Overly Unduly Intrusive and Burdensome

            Intel permits courts to deny discovery which is “unduly intrusive and burdensome.” 542

   U.S. at 264–65. In Alabama, the court significantly reduced the requested discovery, limiting

   records to transactions with Halliwel and Bracha, see Alabama Order Modifying Subpoena, ECF

   35-1, which is the only discovery that Shulman (or Hornbeam) could possibly need to determine

   the validity and fairness of the loans and other transactions with Halliwel and Warren Steel.

   While the Subpoena Recipients will address the issue of burden if discovery is permitted by


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   serving objections, at a minimum, the Court should limit the scope of the subpoenas to

   transactions with Halliwel and Warren Steel.

          As an initial matter, Shulman argues that the discovery he seeks is the same discovery

   this Court already authorized Hornbeam to subpoena and is therefore no more burdensome to the

   Subpoena Recipients. ECF 122 at 14. This argument is premature at best as the Court has

   permitted the Subpoena Recipients and Symeou and Halliwel to file a Motion to Vacate the Ex

   Parte Order. ECF 123. The Court clearly intends to address the authority granted ex parte after

   hearing from both sides. This Court obviously has not addressed the burdensomeness issue as it

   has not been briefed by those suffering the burden.

          Shulman next argues that the scope of the discovery is appropriate. To support this

   argument, Shulman relies on various cases in which §1782 discovery was authorized; however,

   each of the cited cases are distinguishable on one or more grounds, none more important than the

   fact that each of the them involved intricate claims of far reaching fraud whereas the instant

   matter does not. Shulman’s claims for relief in England involve a commercial dispute with

   allegations of breaches of fiduciary, statutory and partnership duties, and unjust enrichment.

   Those allegations have only half-heartedly been alleged to be fraudulent (Shulman's English

   Particulars of Claim make brief generalized allegations of fraud / dishonesty in four paragraphs

   only: paragraphs 6, 8, 73 and 80). ECF 78 at 34–35 (sealed).7

          First, Shulman’s unduly burdensome and intrusive requests are not needed to prove his

   case. For example, capturing all documents touching the 14 Subpoena Recipients are not needed
   7
     In Ahmad Hamad Algosaibi & Bros. Co. v. Std. Chtd. Int’l (USA) Ltd., 785 F. Supp. 2d 434,
   435 (S.D.N.Y 2011), petitioners’ §1782 application was granted but the Court ordered the parties
   to meet and confer for 30 days to narrow the scope of the subpoenas. Unlike in the instant
   action, in Eastman Kodak Co. v. Camarata, 238 F.R.D. 372, 375 (W.D.N.Y. 2006), broad
   discovery was granted based on the alleged RICO predicate acts of mail fraud, wire fraud,
   money laundering and interstate transportation of stolen property.

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   to assess the validity of the Loans. That can be accomplished through the production of specific

   wire transfer and deposit records. See Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. 44,

   50 (S.D.N.Y. 1996) (quashing overly broad subpoena where irrelevant requests “effectively

   encompass[ed] documents relating to every transaction undertaken by [third-party] during the

   last ten years”).

           Second, discovery of “all documents and communications concerning any transaction” of

   the 14 Subpoena Recipients since January 1, 2006 will capture voluminous private and

   confidential transactions. Seeking these documents intrudes into private, unrelated affairs and

   should not be permitted. See Arias-Zeballos v. Tan, No. 06 Civ. 1268(GEL)(KN), 2007 WL

   210112, *1 (S.D.N.Y. Jan. 25, 2007) (quashing subpoena on the basis that “[i]ndividuals, whose

   banking records are subpoenaed, have a privacy interest in their personal financial affairs.”).

           Finally, Shulman argues that he will be prejudiced if he is not promptly authorized to use

   discovery from this matter due to mandatory deadlines to produce evidence in the English

   Action. This is simply untrue as explained above.

   III. THE EX PARTE ORDERS ENTERED BY OTHER COURTS DO NOT SUPPORT
   GRANTING DISCOVERY AT THIS TIME OR THE OVERLY BROAD DISCOVERY
   WHICH SHULMAN SEEKS.
           Shulman argues that the decisions in two of the §1782 actions which Hornbeam filed

   support discovery in this case, ignoring that the Alabama court substantially narrowed discovery,

   the New York court only considered objections to bank records, and the Ohio court stayed

   discovery because Hornbeam’s BVI proceedings were not within reasonable contemplation. In

   addition, none of these decisions concern the posture where Shulman’s English action could be

   dismissed within months. And the Alabama and New York courts denied Shulman’s motion to

   intervene.



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          A.     The Alabama Decision Granted Respondents’ Request that the Discovery Be
                 Substantially Narrowed
          Initially, the Alabama Court authorized sweeping document discovery that would have

   captured voluminous private and unrelated transactions related to 12 lenders, 33 commercial

   entities, and 12 individuals.   Respondents argued that these transactions were unrelated to

   Warren Steel and, as a result, it would be unnecessarily intrusive to allow Hornbeam to obtain

   those records, especially given that they did not relate to the allegations of the contemplated

   foreign action. The court agreed, quashing the subpoena it had authorized and narrowing its

   scope only to include documents related to Warren Steel. See Alabama Order Denying Motion

   to Vacate, Quashing and Modifying Subpoena, ECF 35-1.           Neither Hornbeam nor Bracha

   challenged the Court’s narrowing of the subpoena on appeal.

          B.     The New York Decision Is Inapposite Because It Only Concerned Easily
                 Identified Bank Records
          The New York court’s grant of discovery is wholly different from the sprawling

   discovery sought here, and cannot serve as precedent for granting §1782 discovery, or its

   purported scope. While the New York §1782 discovery was focused on financial records from

   12 financial institutions, the discovery Shulman seeks here is considerably more expansive.

   Moreover, Shulman seeks 15 depositions in this case. He sought none in New York.

          C.     The Ohio Decision Affirms that Hornbeam’s BVI Proceedings Are Not
                 Within Reasonable Contemplation

          In Ohio, the Court granted Symeou’s motion to stay the §1782 proceeding “because

   Hornbeam is prohibited from filing suit in the BVI until such time as it pays off the judgment.”

   ECF 76-1.    As such, “the Court cannot say that proceedings there are ‘within reasonable

   contemplation.’ . . . If anything, the fact that the judgment is relatively small and easily

   affordable weighs against a finding that Hornbeam is ‘reasonably contemplating’ litigation. If


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   that were the case, the Court presumes that Hornbeam would have paid the judgment thus

   clearing the way for it to proceed in the BVI.” Id. Hornbeam has not moved to vacate the Ohio

   stay even though the BVI judgment was paid in November 2016. Noticeably, Hornbeam does

   not even mention the Ohio decision, which indicates that Shulman does not need discovery now,

   just like Hornbeam did not need it in the past, given its failure to pay the BVI judgment for

   almost two years and then not moving to lift the Ohio stay.


                                               CONCLUSION

          Intervenor Kolomoisky accordingly respectfully request that Shulman’s §1782

   Application be: (1) denied in its entirety; or alternatively (2) that the part of the Application

   requesting pre-filing depositions and/or depositions of would-be participants to the foreign

   proceedings be denied; and (3) that the authorized discovery be limited to transactions between

   Halliwel and Warren Steel.




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      Dated: October 13, 2017

                                                     Respectfully submitted,

                                                     REED SMITH LLP
                                                     Attorneys for Igor Kolomoisky


                                                     1001 Brickell Bay Drive, 9th Floor
                                                     Miami, Florida 33131
                                                     Tel.: (786) 747-0200
                                                     Fax.: (786) 747-0299

                                                     /s/ Sujey S. Herrera
                                                     Edward M. Mullins
                                                     Fla. Bar No. 863920
                                                     Email: emullins@reedsmith.com
                                                     Sujey Herrera
                                                     Fla. Bar No. 92445
                                                     Email: sherrera@reedsmith.com


                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via

   electronic filing using the CM/ECF filing system with the Clerk of the Court, which sent email

   notification of such filing to all CM/ECF participants in this case listed on the Service List on

   October 13, 2017

                                                             /s/ Sujey S. Herrera
                                                             Sujey S. Herrera




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                                    SERVICE LIST



      Brian A. Briz                             David B Massey
      Adolfo Enrique Jimenez                    John F. O’Sullivan
      Holland & Knight LLP                      Jason David Sternberg
      Suite 3000                                Hogan Lovells US LLP
      701 Brickell Avenue                       600 Brickell Avenue, Suite 2700
      Miami, FL 33131                           Miami, FL 33131
      305-789-7723                              350-459-6678
      305-789-7799 (fax)                        305-459-6550 (fax)
      brian.briz@hklaw.com                      david.massey@hoganlovells.com
      adolfo.jimenez@hklaw.com                  john.osullivan@hoganlovells.com
                                                jason.sternberg@hoganlovells.com
      James Power
      Holland & Knight LLP                      David R. Michaeli
      31 West 52nd Street                       Dennis H. Tracey, III
      New York, NY 10019                        Hogan Lovells, US, LLP
      212-513-3200                              1875 Third Avenue
      james.power@hklaw.com                     New York, NY 10022
                                                212-918-3000
      Counsel for Panama                        David.Michaeli@hoganlovells.com
                                                dennis.tracey@hoganlovells.com

      Jorge David Guttman                       Counsel for Bracha Foundation,
      William King Hill                         Hornbeam Corporation, And Vadim
      GUNSTER                                   Shulman
      600 Brickell Avenue
      Suite 3500
      Miami, FL 33131                           Bruce Marks
      305-376-6054                              Thomas Sullivan
      305-376-6010 (fax)                        Marks & Sokolov, LLC
      jguttman@gunster.com                      1835 Market Street
      whill@gunster.com                         Philadelphia, PA 19103
                                                215-569-8901
      Counsel for Respondents                   bmarks@mslegal.com
                                                tsullivan@mslegal.com

                                                Co-Counsel for Halliwell Assets, Inc.
                                                and Panikos Symeou




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